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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Charles P. Golbert
                                                 Plaintiff,
v.                                                            Case No.: 1:19−cv−08257
                                                              Honorable Mary M. Rowland
Aurora Chicago Lakeshore Hospital LLC, et al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 28, 2021:


        MINUTE entry before the Honorable Mary M. Rowland: Defendants' motion for
leave to file under seal [220] is granted. Mailed notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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